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                                                      Independent Expert
                                                   Assessment ofMarkMonitor
                                                    AntiPiracy Methodologies

                                                            [REDACTED]

                                                            November 1,   2012




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     Executive Summary
        1.   Background

     Stroz Friedberg, LLC was retained by the Center for CopyTight Information ("CCI") as an
     Independent Expert under the July 6, 2011 CCI Memorandum of Understanding
     ("MOU") executed between the Content Owner Representatives and the Participating
     ISPs, both as defined by the MOU. Under the MOU, the Content Owner Representatives
     are required to develop and maintain Methodologies (as defined by the MOU) for
     identifying instances of Peer-to-Peer ("P2P") online infringement and gathering reliable
     evidence that the identified content was uploaded, downloaded, copied, or offered on a
     P2P network. The Independent Expert, in turn, is required by the MOU to review on a
     periodic and ongoing basis the Methodologies and any modifications thereto, and
     recommend enhancements as appropriate, with the goal of ensuring and maintaining
     confidence on the part of the Content Owner Representatives, the Participating ISPs, and
     the public in the accuracy and security of the Methodologies.

     To this end, the Content Owner Representatives have retained the company
     MarkMonitor to implement its P2P antipiracy services to identify instances of online
     copyright infringement. Stroz Friedberg conducted an assessment of the MarkMonitor
     Methodologies for monitoring, verifying, and enforcing online copyright infringement on
     P2P file sharing networks. Stroz Friedberg assessed the efficacy of MarkMonitor's
     Methodologies to monitor, identify, collect evidence, and generate notices to P2P
     infringers by conducting a series of in-person and remote interviews, reviewing
     documentation, and conducting technical analysis. This report details Stroz Friedberg's
     findings from this assessment. Stroz Friedberg reserves the right to amend, modify, or
     supplement this report as necessary or based on newly discovered information.

        2.   Summary of Findings and Recommendations

     Based on our analysis and review of MarkMonitor's Methodologies, Stroz Friedberg
     found that:

        >    MarkMonitor's Methodologies effectively identify P2P online copyright
             infringe rs.

        >    MarkMonitor Methodologies are well-developed and matured.

        >    MarkMonitor's evidence collection in connection with P2P infringement is
             robust, defensible, and will withstand adverse party scrutiny or evidentiary
             challenges.

        >    The Methodologies include appropriate checks and balances at key points in the
             work flow to ensure accuracy.



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        >   The reporting and notice-generating abilities allow MarkMonitor to accurately
            report on identified infringers.

        >   The Methodologies have a number of inherent and added system redundancies
            designed to ensure that MarkMonitor can provide continuous and consistent
            scannmg.

     Though on the whole we found MarkMonitor's present Methodologies to be well
     developed and robust, we offer the following recommendations as potential
     enhancements:

        >   Consider adding additional checks and auditing to the file identification and
            verification protocols.

        >   Increase the percentage of verified infringing works deployed to the remote
            [collection mechanisms].

        >   Consider modifications to the infringement file identification process to include
            works with obfuscated names, or that are sourced from private trackers.

        >   Create and maintain a cryptographic hash value for each collected case file.

        >   Regarding ISP notifications, to the extent possible, move away from reliance on
            email/SMTP and towards the use of other secure protocols such as HTTPS.

        >   Develop an audit framework that allows for assessment and evaluation of the
            effectiveness of the Methodologies on an ongoing periodic basis.

     These recommendations have been communicated to MarkMonitor, and we understand
     that many have been implemented or are being considered for implementation in the
     future.


     Independent i\ssessrnent l\ilethodology
     MarkMonitor has been extremely helpful in preparing detailed documentation, making
     appropriate resources available, responding to our specific inquiries, and overall
     cooperating with the Independent Expert assessment. Stroz Friedberg's independent
     assessment involved: (1) a review of MarkMonitor's network, application components,
     and antipiracyworkflow; (2) in-person and remote walk-throughs of the antipiracywork
     flow from beginning to end; (3) identification and review of in-process verification
     checks and controls and potential breakpoints; (4) limited live testing of the antipiracy
     system and technical analysis of captured P2P content; and (5) multiple live/real-time
     reviews of the MarkMonitor anti piracy applications and systems. Sequentially, our
     assessment began with an overview of MarkMonitor's network and systems and
     progressed through the following specific topics, organized loosely with discrete steps in
     MarkMonitor's own anti piracy work flow:


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        •    Identification of infringing files and file verification;

        •    Search for and identification of infringing files using P2P data [collection
             mechanisms];

        •    Infringement verification and evidence collection; and

        •    Notice generation and enforcement.

     Outlined immediately below is a list of the documentation that Stroz Friedberg reviewed
     in connection with our assessment.

        •    MarkMonitor [REDACTED] Report, dated [REDACTED];

        •    MarkMonitor Presentation entitled [REDACTED];

        •    Screenshots of various components of the MarkMonitor anti piracy system;

        •    Test torrent files prepared by MarkMonitor;

        •    Case file packages generated from Stroz Friedberg's test of P2P content hosting;
             and

        •    Infringement Notice generated as a result of Stroz Friedberg's test P2P content
             hosting.


     A.ssessrnent of 1\:Iark.l\ionitor AnJiPiracy Platfhrin
     This section provides an overview of the MarkMonitor AntiPiracy Methodologies and
     outlines the steps it takes to monitor, verify, collect evidence regarding, and enforce
     against online copyright infringement on P2P file sharing networks. For purposes of our
     assessment, Stroz Friedberg focused specifically on the extent to which these steps
     accurately identify copyright infringers; the checks and balances in place to ensure
     accuracy; and where any potential process break points exist.

        1.   Platform Overview

     The MarkMonitor AntiPiracy platform consists of an enterprise client-server
     environment designed to scan P2P networks and websites, collect and preserve evidence,
     and send infringement notices. The system has been in use and evolving for over eight
     years, and in this time has developed into a reliable, dynamic, and highly extensible
     system. In connection with MarkMonitor's MOU-related work, the system currently
     monitors [REDACTED].

     At the highest level, the MarkMonitor platform consists of [scanning systems], multiple
     [databases], [collection mechanisms], and [configuration systems]. Figure 1 below


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     visually depicts the antipiracy workflow and the interaction of these systems and
     databases.




             !
                                           Operational
                                           Data Stores




     To identify infringing works, MarkMonitor personnel search for [potentially offending
     files] and add the results to a [database] that captures relevant metadata about each file,
     including its name, hash values, and size. This identified content is next reviewed
     manually or with automated fingerprinting technology to determine if it is an actual
     infringing copy of the protected work. Once the work has been reviewed, its status is
     updated in a [database] to indicate that it has been confirmed as an actual infringing
     work.

     Concurrently, identified infringing searches and torrents are deployed to [collection
     mechanisms]. The [collection mechanism] is a custom-built software application that
     runs on servers deployed in datacenters geographically spread [REDACTED].
     MarkMonitor has designed the [collection mechanisms] to specifically target
     [REDACTED]. The [collection mechanisms] search for, download portions of, and
     create evidence packages or "cases" of infringing works including (among other data
     points) IP address, port, time/date, size, PeerID, and hash values.

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     [REDACTED] [S]cripts run to verify that the collected evidence is in fact a verified
     infringing work and meets all program requirements.

     After the collection has been verified, in the final step, infringement notices are
     generated and sent to the appropriate ISP based on specifications specific to each
     provider.

         2.   Identification of Infringing Files and File Verification

     Once a month the Content Owner Representatives provide MarkMonitor lists of titles of
     copyrighted works they would like monitored. MarkMonitor identifies infringing online
     versions of these titles through [comprehensive scanning across multiple sites].

     Each new instance of an identified work is fully downloaded and reviewed by
     MarkMonitor personnel to verify that it is in fact an actual infringing copy of the title.
     The purpose of this step is to verify that the file being targeted is the asset intended for
     monitoring by the content owners. This verification step is crucial to ensure that the
     content owners are not enforcing antipiracy measures on non-protected works and is a
     key part of MarkMonitor' s ongoing success in the proper identification of P2P copyright
     infringement.

     In order to conduct the verification, for the MPAA, MarkMonitor analysts are required
     to:

          •   Manually review at least [REDACTED] minutes of a video file at the beginning,
              middle and end of the file, including reviewing all titles and credits; and

          •   Manually review at least [REDACTED] full minutes of content from each
              [REDACTED] minutes of the remaining content of the file.

     For the RIAA, MarkMonitor analysts are required to:

          •   Use industry standard audio fingerprinting technology provided by
              [REDACTED] to identifythe first instance of an identified file, and match each
              subsequent version of the same file by hash value. The [REDACTED] settings
              require a "Type 3" match. 1 With this setting, the entire suspected infringing file
              is fingerprinted, and that fingerprint is sent to a lookup server for identification.
              An arbitrary [REDACTED] segment is used to initially match the suspected
              infringing file against the reference file (i.e. reference sound recording). Once
              initially identified in this manner, the remainder of the suspected infringing file
              is matched to the reference file to confirm the match across all or substantially
              all of the sound recording.




     1
       For the Type 3, the media sample up to [REDACTED] minutes is fingerprinted is sent to a lookup server for
     identification.

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     The status of each reviewed instance of each file and its hash value is recorded in [a
     database]. The database will reflect the status of each reviewed file, indicating whether it
     is incomplete, fake, or a verified infringing work. Figure 2 below [REDACTED]:
                                           Figure 2: (REDACTED]

     Searches for new versions of an in-scope title are conducted and added to the database
     continuously throughout the duration of a project/program. However, only the first
     unique instance of each identified file is subjected to the full review process; each
     subsequent version can be verified as identical through SHA1 cryptographic hash
     matching, which confirms that the file is identical to the previously reviewed version.
     Though all identified versions of a file are deployed to the P2P data [collection
     mechanisms], as described in the next section, only verified infringing works are eligible
     to generate infringement notices.

        3. Search for and Identification of Infringing files with P2P [Data
           Collection Mechanisms]

     For purposes of its work pursuant to the MOU, MarkMonitor uses a distributed network
     of servers [REDACTED] all with custom designed data scanning and [collection
     mechanism] software. This software, which consists of [REDACTED], is responsible for
     collecting information from P2P networks and websites. The [collection mechanisms]
     search process and functionality vary by P2P network, but are all designed to integrate
     and function on the P2P network as a standard peer and communicate and download
     data from other peers, just like a standard P2P client.

     Unlike a standard P2P client, however, the P2P [collection mechanisms] are designed to
     document users' activities and generate evidentiary collections of shared content with
     relevant supporting information. Also unlike standard P2P clients, the [collection
     mechanisms] request and download only a portion of a shared file from each peer,
     typically around [REDACTED] kilobytes. These individual pieces are verified by SHA1
     cryptographic hash values to be part of the original targeted work and after the content is
     confirmed to part of the original targeted work, the download is stopped. Downloading
     only a limited portion of the file allows the [collection mechanisms] to minimize required
     storage space and target as many peers sharing a particular work as possible. The figure
     below contains a screenshot of a P2P [collection mechanism]:
                               figure 3: [PZP Cdbcth:m Mednrdsrn] [REDACTED]

     [REDACTED] Figures 4, 5, and 6 below contain screenshots of [MarkMonitor
     proprietary tools]:
                                           Figure 4: [REDACTED]

                                           Figure 5: [REDACTED]

                                           Figure 5: [REDACTED]




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        4. Infringement File Collection and Verification

     When a P2P [collection mechanism] connects with a peer and identifies an in-scope file,
     [REDACTED], it attempts to download a piece of that file and generate an infringement
     "case" package.

     Stroz Friedberg found that the MarkMonitor case file generation follows practices
     consistent with industry standard forensic data collection, including generation of audit
     trails, robust documentation, hash verification, and repeatability. As described below,
     this infringement case package is an exhaustive and defensible collection of evidence
     about the infringement.

     In addition to collecting actual portions of the infringing work, each infringement case
     contains a series of XML-formatted log files with case specific information, a packet
     capture file ("PCAP"), and a presentation layer that renders the case information cleanly
     in a web browser. Timestamps included in the log files are synchronized with Internet
     time servers and are configured to Coordinated Universal Time (UTC). The evidence file
     includes the following key information:

             •   IP Address
             •   Country
             •   Capture Initiated time
             •   Capture Completed time
             •   P2P Protocol
             •   Target ISP
             •   Target Port
             •   Target Hostname
             •   Server ISP
             •   Server IP
             •   Server Port
             •   Server Hostname
             •   SHA1 hash value
             •   Connection type
             •   Peer Client Info
             •   Peer ID

     Among the XML files in the case file are an activity log and a communication log. These
     files provide a timeline for the entire collection process and detail the P2P protocol
     related communications between the [collection mechanism] and end user's peer sharing
     or downloading the infringing content.

     Another of the XML files, [REDACTED], includes the name, SHA1 hash value, and size of
     the target file, as well as how much of the infringing work was shared by that particular
     user, and the portion downloaded and hash verified by the [collection mechanism]. The


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      figure below contains an example of the [REDACTED] file as displayed through the
      HTML presentation layer:
                                Figure 7: Ci:mtent Info from Cnse Hk [REDACTED]

      The evidence package also includes a traceroute of the user's IP address in connection
      with a reverse DNS lookup of all devices encountered, to determine the IP address, ISP,
      and geographic location of the peer.

      MarkMonitor relies on the industry standard WinPcap library to preserve network
      packets exchanged between the [collection mechanism] and the target peer. The packet
      captures preserve and allow for review of the entire communication session between the
      [collection mechanism] and the investigation subject.

      [A] second level of verification [] is conducted at this point in the process. This [second
      level of verification] consists of a check to ensure that the individual file found shared by
      a user (and captured in part in the case file) is a true copy of the asset being monitored.
      Stroz Friedberg confirmed that for each instance of infringement, the MarkMonitor
      system verifies that:

             •   The IP address is sharing a file [REDACTED];

             •   The IP address is verified as active [REDACTED];

             •   The IP address is detected as having a P2P client; and

             •   The hash reported by the peer matches a hash value in the database of
                 confirmed infringing files.

      [REDACTED]

      Stroz Friedberg finds that these [second level verification] steps are adequate and
      sufficient to confirm that files identified by the [P2P collection mechanism] are in fact
      copies of known infringing works.

         5. P2P Online Infringement Enforcement

      MarkMonitor's enforcement-specific Methodologies consist of identifying the ISP
      associated with an infringement case, generating infringement notices, sending a notice
      to the ISP, and (at least in the case of RIAA-related works) logging notice responses
      received back from the ISPs and/or customer. After a [P2P collection mechanism] has
      identified and downloaded a shared file, generated a case file, and that work has been
      verified as infringing (through both the File Verification and Infringement Verification
      process), notices are programmatically generated and sent by email.

      Stroz Friedberg took steps to ensure that MarkMonitor's approach included safeguards
      to: (1) only send notices for verified infringement cases that have been captured within
      the past 48 hours; (2) ensure notices are not duplicative of notices sent to the same IP
      address within the past 24 hours; (3) create notices using the proper template and

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      format; (4) send notices to the proper ISP and correct contact address using the
      appropriate method; (5) make sure notices are delivered properly; and (6) for RIAA
      works, document responses from ISPs and users. A mistake or breakdown in any of
      these areas could potentially result in a failure to properly report on or track
      infringement cases. The specific steps MarkMonitor takes to address each of these six
      areas is discussed below:

         •   To ensure that notices are only sent on verified cases, MarkMonitor relies on
             scripts that generate notices only on cases that have been verified within the
             [REDACTED] database.

         •   To ensure that notice timeframe limitation rules are met, settings within the
             [MarkMonitor's proprietary application] allow MarkMonitor to specify the
             frequency of collection for a particular identified IP address.

         •   To identify the appropriate ISP for each infringement case, MarkMonitor
             maintains its own database of IP-block to ISP correlation. To ensure that this
             database is current, MarkMonitor uses the IP addresses identified in the reverse
             DNS lookups performed in the collection stage and compares them
             [REDACTED]. MarkMonitor also proactively maintains and updates a list of ISP
             contact information as well as a report on each ISP to ensure its notices are
             directed to the appropriate location.

         •   To make sure its notices are delivered properly, MarkMonitor runs and reviews a
             weekly report on the SMTP server used to send notices. Any address message
             blocking errors are addressed on a timely basis.

         •   [REDACTED]

      Stroz Friedberg found these steps to be adequate and sufficient to ensure the proper
      creation and delivery of infringement notices.

         6. AntiPiracy System Redundancies

      The MarkMonitor Methodologies have a number of inherent and added system
      redundancies designed to ensure that it can provide continuous consistent scanning.

      [REDACTED]


      Controlled Systern Test of lVlarklVlonitor Platfrtrrn
      Stroz Friedberg worked with MarkMonitor to conduct a controlled test of its anti piracy
      Methodologies and to further understand its workflow and evaluate the efficacy of its
      processes. As described below, this test further established the effectiveness of the
      MarkMonitor' s Methodologies.


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      Our test environment consisted of a VMWare virtual machine running Windows XP and
      the BitTorrent client application, version 7.7.0. This virtual computer was connected to a
      DSL line provided by one of the Participating ISPs, AT&T. Our test machine connected
      to the Internet with IP address [REDACTED].

      To test the operation of the Methodologies, Stroz Friedberg downloaded and became a
      seeder of a video file called, "House season 4.avi". 2 Figure 8 below contains a screenshot
      of the BitTorrent client running on Stroz Friedberg's test computer.



                 ?K   Featured Content



          :.~:   U.   Torrents (4)
                                                      2012 DVD-RIP. avi                        2.77 MB
                      -i"   Downloading (0)
                                                      House season 4.avi                       2.77 MB
                       ..,,,,, Seeding (3)

                      .,I' Completed ( 4)
                      ~~~::. Active (0)

                      ·:::·:~ Inactive (4)

                  it.; ~ Labels ( 4)


                                              Availabilit·:1:
                 ~ ~'.::. Feeds (0)

                                              Transfer
                 Q    Devices (0)             Time Elapsed:         7h 52m                    Remaining:                                     Wasted:             16.0 kB (0 hashfails)
                                              Downloaded:           2. 77 MB                  Uploaded:        1.40 MB                       Seeds:              O of O connected (0 in swan
                 ~New Apps!                   Download Speed:       0.0 kB/s (avg. 157.7 kB/s) Upload Speed:   0.0 kB/s (avg. 52 B/s)        Peers:              O of 3 connected (0 in swan
                                              Down Limit:                                     Up Limit:                                      Share Ratio:        0.507
                                              Status:               Seeding

                                              General
                                              Save As:           C:\,Documents and Settings\tom'\Desktop\,source\2012 DVD-RIP - Copy.avi
                                              Total Size:        2.77 MB (2.77 MB done)                             Pieces:             178 x 16.0 kB (have 178)
                                              Created On:        7/30/20127:18:05 AM                                Created B;l:        uTorrent/3200
                                              Added On:          7/30/2012 10:33:54 AM                              Completed On:       7/30/2012 1O:34: 14 AM
                                              Hash:              66338F80E91OE2EABBBCFEC59ECAEDB2EDDOE41 F




                                                                                    D: 0.0 kBJ• T: 0 B                              U: 0.0 kB/s T; lJkB




                                                      Hgme 8: BltTorrent n.Fining on Strn1 frkdberg tes;t wmputer

      The "House season 4.avi" content file was one that MarkMonitor had identified as a file
      to search for by the [collection mechanisms]. In our live test, the MarkMonitor
      [collection mechanism] identified and began collecting data about our test system almost
      immediately after our BitTorrent client began seeding the file.

      [REDACTED]
                                                                                    FigSJre. S: (RtDAtTtD]




      2
          The "House season 4.avi" was not, in reality, a pirated copy of the FOX television series.

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      Our inspection of [the generated] case file confirmed that the XML files contained within
      maintained the key information required to document our test computer's download and
      sharing of the "House season 4.avi" file, as well as information necessary to authenticate
      the collection. The evidence collection package is included as Exhibit 1 to this report.

      MarkMonitor also took steps to generate a sample notice based on this test case using
      the template in place for a current MPAA program. And though this manual notice
      generation did not fully duplicate the automated methods used to create notices in the
      MarkMonitor production environment, it demonstrates the workings of the overall
      process. The notice email is included as Exhibit 2 to this report.


      Enhancen1enJ Reco1nn1endations
      Stroz Friedberg offers the following recommendations focused on improving the
      accuracy and reliability of MarkMonitor's already robust processes to ensure P2P
      infringers are properly identified in a defensible and well documented manner. These
      recommendations are designed to further mitigate any potential break points and lower
      the probability of exposure as a result of inaccurate identification.

      These recommendations have been communicated to MarkMonitor, and we understand
      that many have been implemented or are being considered for implementation in the
      future.

         1.   Augment the File Identification Audit Trail

      [REDACTED]

         2.   Deploy a Higher Percentage of "Verified" Infringing Works to the
              [Collection Mechanisms]

      [REDACTED]

         3. File Identification of Obfuscated Infringing Works

      [REDACTED]

         4. Create and Maintain a Hash Value with the Case File

      [REDACTED]

         5. Notice Generation and Sending Should Move Away from Email/SMTP

      [REDACTED]

         6. Develop a Periodic Audit Framework

      [REDACTED]



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      Recornrnendations -for Ongoing Periodic Reviewv
      The MOU establishes that the Independent Expert shall evaluate the Content Owner
      Representatives' Methodologies on a periodic basis. Stroz Friedberg proposes to
      accomplish this through a quarterly review of MarkMonitor's Methodologies.
      [REDACTED]. The substance of the periodic review should include at least the following
      events:

         );- A briefing on protocols that have been changed or revised.

         >   Discussion of any P2P platform, network changes, or file sharing trends that may
             implicate the MarkMonitor Methodologies.

         );- A review of metrics related to notice generation sending and responses and
             trends compared to the prior quarter.

         );- A limited audit of a statistically relevant sample of reviewed/verified titles.

         );- A limited review of a statistically relevant sample of notices generated to ensure
             they relate to verified infringing works.

         );- Review a sample of collected cases to ensure they contain all required
             components.




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                                   BOSTON, tv1A


                                   CH!Cl\GO, IL


                                    DALLAS, TX


                                LOS ANGELES, CA




                                  NE'vV YORK, NY


                               SAN FRANCISCO, CA


                                   SEATTLE, WA


                                \/i/ASH!NGTON, DC


                                   LONDON, UK




                              vvvvvl,strczfr!edberg,ccrn




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